                                                                                 CLERK'S OFFICE U.S. DIST. COURT
                                                                                        AT ROANOKE, VA
                                                                                             FILED

                                                                                         DEC 04 2019
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA                           JULI
                                                                                   BY:
                               DANVILLE DIVISION

  THE UNITED STATES OF AMERICA                         )
                                                       ) Criminal No. 4:18-cr-12
 v.                                                    )
                                                       )
  DASHAWN ANTHONY,                                     )
  et al.,                                              ) By: Michael F. Urbanski
                                                       ) Chief United States District Judge
         Defendant.                                    )

                                                 ORDER

         T he Jmy Evidence Recording Sys tem (JERS) will be used in the trial of this case. JERS

  provides a number o f advantages to comt personnel, jmors, and counsel. JERS provides easy

  access to evidence by the jury during deliberation, reducing the need for jmors to handle

  physical evidence. Jurors can view the evidence multiple times, including videos and pictures.

         However, JER..S is NOT designed to present evidence and counsel should be familiar

 with evidence presentation technology in the courtroom.

         JERS requires that counsel must submit electronic exhibit files in advance of trial on a

  USB drive, D VD , or CD . The attached instructions provide information for the preparation

  by counsel of the electronic exhibit file s.

         Experience with J ERS in other cases teaches that exhibits should be given a name

  readily identifiable to the jmy, such as l_photo of dumpster 07042019.jpeg or 2_facebook

  message 07042109.pdf, rather than just a long list of numbers lacking context clues. Counsel

  should think of J ERS listing exhibits much like an electronic guide lists television ch annels. It

 is much easier for the jury to find a given exhibit if the name selected for the exhibit bears

  some meaningful relation to its content.


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           Further, CM/ ECI-' only accepts .pdf documents that are under 50 megabytes for

    docketing purposes. If counsel submits exhibits in another file format, such as .jpeg, .bmp,

    .gif., .mp4, etc., for JERS purposes, counsel mu st also submit the exhibit as a .pdf, under 50

    megabytes, so that the exhibits can be docketed.

           If counsel intend s to use videos with subtitles as exhibits at trial, counsel must submit

    two versions of the video file: one with subtitles and one without subtitles.

           Further questions should be directed to the Clerk's Office (Kristin Ayersman, (540)

    857-5153, Kristin.A@vawd.uscourts.gov).

           It is so ORDERED.

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                                         JERS Instructions

  T he digital Jury Evidence Recording System QERS) allows evidence admitted at trial to
  be easily viewed via a large screen monitor by th e jury during deliberations. J E RS
  reduces the need to handle physical evidence while allowing the jury to view evidence
  multiple times, play audio and video recordings, and zoom in on pictures and documents.
  J E RS is N OT designed to present evidence in the courtroom.

                         SUBMITTING EXHIBITS TO THE COURT

   Counsel must submit all proposed exhibits on a D VD, CD , or USB drive (" device") no
   later than the T hursday before trial. The device must be labeled with the case title, case
   number and the name o f the party for whom the exhibits are submitted. Each o f the files
   contained on the device must be saved using the naming conven tion identified below, and
   in the orientation (portrait or land scape) to ensure tl1e greates t ease o f viewing. It is the
   responsibility of counsel iliat exhibits used during trial coincide in exhibit number as the
   exhibits submitted to the court on the device and to sub stitute any documents that have
   been alte red.

                                   ACCEPT ABLE FILE TYPES

   D ocum ents: .pd f
   Images: .pdf, .j peg, .bmp, .tif, .gif
   Video and A udio Recordings: .avi, .mpg, .mp3, .mp4, .wav, .wm a, .wmv

                           REQUIRED NAMING CONVENTIONS

   Exhibit files mus t be named using the following format:
          exhibit no._exhibit description.file extension
   Exhibits consisting o f multiple sm aller file s must be named using the following format:
          exhibit no.-exhibit subpart_exhibit description.file extension
   Examples:
        1-a_ pho to of store fro m east view.jpeg
        1-b_photo o f store fro m wes t view. jpeg
        2_camera footage 07042019.wmv
        3_contract 07042019.pdf

                               ADDITIONAL REQUIREMENTS

   Counsel must provide an exhibit list with file names and descriptio ns to display for jury
   deliberation. T hey must be accurate and no t argumentative. File names must no t contain
   single or double quotation m arks, en dash (- ) or em das h (- ). D ocuments and images
   must no t exceed file size 50MB.

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